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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 PAINTEQ, LLC,

                 Plaintiff,

          vs.                              CASE NO. 8:20-cv-02805-VMC-AAS

 OMNIA MEDICAL, LLC,

             Defendant.
 _________________________________/




                 OMNIA MEDICAL, LLC’S CLAIM CONSTRUCTION BRIEF




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     Defendant/Counter-Plaintiff, Omnia Medical, LLC (“Omnia Medical”), through its

     counsel pursuant this Court’s Patent Scheduling Order (Doc. 27) provides its opening

     Claim Construction brief relating to the contested constructions in asserted U.S. Patent

     No. 10,426,539 (the ‘539 Patent) and U.S. Design Patent No. D905,232 (the D232 Patent).

I.       INTRODUCTION

              The case law is clear that, in most circumstances, the claims of a patent should

     generally be given their ordinary meaning as would have been understood by a person

     of ordinary skill in the art. See, Phillips v. AWH Corp., 415 F.3d 1303, 1312-1313 (Fed. Cir.

     2005)(en banc). Here, both the ‘539 Patent and the D232 Patent are clear on their face

     and the scope of the claims readily understood by a person of skill in the art. Thus, it is

     Omnia Medical’s position that the claims do not require construction, but to the extent

     that a construction is deemed necessary, the claims should be construed so as to

     provide the ordinary meaning as understood by one of skill in the art in view of the

     specification.

              The Federal Circuit has held that the best source of construction for a design

     patent is the figures of the specification. Richardson v. Stanley Works, Inc., 597 F.3d 1288,

     1294 (Fed. Cir. 2010). Thus, the preferable course of construing a design patent claim is

     to avoid a detailed verbal description of the claimed design so as to prevent undue

     focus on specific portions of the design in lieu of focusing on the design as a whole.

     Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 679 (Fed. Cir. 2008)(en banc).




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               PainTEQ’s suggested constructions, however, do not comport with established

      case law because they seek to impermissibly import limitations into the claims or to

      improperly exclude features of the claims. For the reasons presented below, PainTEQ’s

      suggested constructions should be rejected. To the extent construction is necessary for

      any of the contested terms, Omnia Medical’s proposed claim constructions should be

      adopted.

II.       BACKGROUND AND RELEVANT FACTS

               Omnia Medical has asserted that, inter alia, PainTEQ infringes two patents – U.S.

      Patent No. 10,426,539 (the ‘539 Patent) and U.S. Design Patent No. D905,232 (the D232

      Patent).

               Omnia Medical is the exclusive licensee of intellectual property owned by

      Orthocision, Inc., including the ’539 Patent and the D232 Patent. As the exclusive

      licensee, Omnia Medical has the right to, inter alia, use the licensed intellectual property

      and to enforce, litigate, initiate court proceedings, and/or settle all past, present, and

      future claims arising from or related to the licensed intellectual property.

               PainTEQ, LLC (“PainTEQ”) manufactures, sells, and offers to sell products for

      use in surgical procedures for sacroiliac (“SI”) joint repair and joint fusion, including

      the LinQTM SI Joint Stabilization System (the LinQTM Products).            When used as

      instructed by PainTEQ, the LinQTM Products infringe the method claimed in claim 26 of

      the ‘539 Patent. The LinQTM Products include a surgical cannula that infringes the

      claimed design of the D232 Patent.



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                 The ’539 Patent

          The ‘539 Patent issued on October 1, 2019 from an application having an effective

 filing date of March 15, 2013.         The ‘539 Patent issued with 31 claims. Omnia Medical

 alleges that claim 26 is infringed by PainTEQ. Claim 26 is reproduced below:

          A method for repairing a sacroiliac joint of a patient, comprising:
          a.        creating an incision in the patient's skin in a position proximal to the
                    patient's sacroiliac joint to allow access to the posterior portion of the
                    sacroiliac joint;
          b.        inserting a working channel into said incision and spreading said
                    posterior portion of the sacroiliac joint with an inserted end of said
                    working channel;
          c.        creating a void in said posterior portion of the sacroiliac joint; and
          d.        inserting a single fusion implant into said void along a path that is
                    substantially parallel to articular surfaces of the sacroiliac joint, said fusion
                    implant having at least one fixation element for engagement with bone
                    tissue in an articular surface of at least one of an ilium and a sacrum in
                    said sacroiliac joint, wherein said at least one fixation element engages
                    with said articular surface of at least one of said ilium and said sacrum
                    and no further implants or fusion devices are introduced into the
                    sacroiliac joint or surrounding tissues.

                 The D232 Patent

          The D232 Patent issued on December 15, 2020 from an application having an

 effective filing date of March 25, 2015. The D232 Patent claims the ornamental design

 for a surgical cannula. Figure 1 from the D232 Patent is reproduced below:




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III.       LEGAL STANDARDS

                       Claim Construction

                             1. The ’539 Patent

                The claims of a patent “are generally given their ordinary and customary

       meaning” which is “the meaning that the term would have to a person of ordinary skill

       in the art in question at the time of the invention.” Phillips, 415 F.3d at 1312-1313

       (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

                The Federal Circuit has made it clear that it is improper to read limitations into

       the claims from the specification:

                       It is likewise not enough that the only embodiments, or all of the
                       embodiments, contain a particular limitation. We do not read
                       limitations from the specification into claims; we do not redefine
                       words. Only the patentee can do that.

       Thorner v. Sony Computer Entm't Am. LLC, 669 F.3d 1365, 1366-67 (Fed. Cir. 2012) (see

       also, Phillips, 415 F.3d at 1320 (“one of the cardinal sins of patent law [is] reading a

       limitation from the written description into the claims”) (citations omitted)).

                   The courts have also acknowledged that the patent’s prosecution history

       generally should be considered in claim construction. Phillips, 415 F.3d at 1317. “Yet

       because the prosecution history represents an ongoing negotiation between the PTO

       and the applicant, rather than the final product of that negotiation, it often lacks the

       clarity of the specification and thus is less useful for claim construction purposes.” Id.

       Any disavowal of claim scope during prosecution must be clear and unmistakable. See

       3M Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315 (Fed. Cir. 2013).



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                   2. The D232 Patent

          The courts have consistently warned against reliance on a detailed verbal

 description of a design claim in patent infringement litigation.          See, e.g., Egyptian

 Goddess, 543 F.3d at 679 ( “[g]iven the recognized difficulties entailed in trying to

 describe a design in words, the preferable course ordinarily will be for a district court

 not to attempt to ‘construe’ a design patent claim by providing a detailed verbal

 description of the claimed design.”) The courts further counsel against a detailed verbal

 description of the claimed design, because reliance on such a description “risks undue

 emphasis on particular features of the design rather than examination of the design as a

 whole.” (See, Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1302-03 (Fed. Cir. 2010)).

 Instead, a design is best represented by the figures themselves and “claim construction

 must be adapted to a pictorial setting.” Richardson, 597 F.3d at 1294.

          The D232 Patent claims the ornamental design for a surgical cannula, as shown

 and described in the ten figures included in the specification. PainTEQ asserts that

 every distinct element of the design is functional and that these alleged functional

 elements must be factored out during claim construction. While the underlying article

 of manufacture (i.e., the surgical cannula) serves a function, that fact should have no

 influence on the construction of the claimed design. “[T]he fact that the article of

 manufacture serves a function is a prerequisite of design patentability, not a defeat

 thereof. The function of the article [of manufacture] itself must not be confused with

 ‘functionality’ of the design of the article.” Hupp v. Siroflex, 122 F.3d 1456, 1460 (Fed. Cir.



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      1997) (emphasis added)(citation omitted); see also L.A. Gear, Inc. v. Thom McAn Shoe Co.,

      988 F.2d 1117, 1123 (Fed. Cir. 1993) (“An article of manufacture necessarily serves a

      utilitarian purpose[.]”).

               While courts have considered the distinction between purely function and

      ornamental aspects of claimed designs, courts have steered away from using claim

      construction to eliminate elements from the claimed design as functional. See Sport

      Dimension, Inc. v. Coleman Co., 820 F.3d 1316, 1321-22 (Fed. Cir. 2016) (holding the

      district court’s construction was erroneous “because it eliminate[d] whole aspects of the

      claimed design”); Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1334 (Fed.

      Cir. 2015) (reversing district court’s claim construction that factored out elements as

      purely functional); Lanard Toys Limited v. Dolgencorp LLC, 958 F.3d 1337, 1342 (Fed. Cir.

      2020) (upheld construction acknowledging the ornamental aspects of each functional

      element without eliminating entire elements of the claimed design). Thus, eliminating

      any aspect of a claimed design as functional is inappropriate at the claim construction

      stage.

IV.       CLAIM CONSTRUCTION OF THE DISPUTED TERMS

                      The ’539 Patent

                            1. Disputed Terms for Claim Construction

               Below are the parties’ respective terms for claim construction for asserted claim

      26 of the ‘539 Patent as provided in the Joint Claim Construction and Prehearing

      Statement (D.I. 45).




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 U.S. Patent No.        Omnia’s Preliminary               PainTEQ’s Preliminary Proposed
 10,426,539 (Claim      Proposed Construction             Construction
 26)
 Fixation element       Stabilization part                Helical anchors, lateral blades,
                                                          flukes, claws, hooks, and screw
                                                          structures, which fix the position
                                                          of the fusion implant and provide
                                                          for compression across the
                                                          sacroiliac joint.
 For     engagement Configured to move the                Configured for interlocking with
 with bone tissue in fixation element into position       bone tissue in the articular surface
 an articular surface so as to come into operation        in a piercing or penetrating
                      with the bone tissue in the         manner.
                      articular surface
 Engages with said The fixation element comes into Interlocks with bone tissue in the
 articular surface    operation with the bone tissue articular surface
                      in the articular surface

                          a. “fixation element”

          No construction is necessary for the claim term “fixation element” because it is

 clear on its face. One of skill in the art would readily understand the meaning of

 “fixation element” in the context of the claim and the specification. To the extent the

 court believes construction is necessary, Omnia Medical’s proposed construction of a

 “stabilization part” properly reflects the plain and ordinary meaning to the claims term

 as it would be understood by a person of ordinary skill in the art.

          PainTEQ’s proposed construction violates the basic tenets of claim construction

 by importing improper limitations into the claims. Nothing in the specification or the

 claims suggest that the function of the fixation element “fix[es] the position of the fusion

 implant and provide[s] for compression across the sacroiliac joint.”      In fact, the claim

 itself defines the function of the fixation element – it is “for engagement with bone




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 tissue.” Adoption of PainTEQ’s proposed construction would read this feature out of

 the claim and improperly limit the function of the claimed fixation element.

          Claim differentiation further supports Omnia Medical’s proposed construction.

 The doctrine of claim differentiation is based on “the common sense notion that

 different words or phrases used in separate claims are presumed to indicate that the

 claims have different meanings and scope.” Karlin Tech. Inc. v. Surgical Dynamics, Inc.,

 177 F.3d 968, 971-72 (Fed. Cir. 1999). Like claim 26, claim 1 of the ‘539 Patent includes

 the element “at least one fixation element for engagement with bone tissue in an

 articular surface of at least one of an ilium and a sacrum in said sacroiliac joint.” The

 only substantive difference between the two claims is that claim 1 requires “wherein

 said at least one fixation element first penetrates said articular surface of at least one of

 said ilium and said sacrum and said fusion implant compresses the sacroiliac joint”

 whereas claim 26 requires “wherein said at least one fixation element engages with said

 articular surface of at least one of said ilium and said sacrum and no further implants or

 fusion devices are introduced into the sacroiliac joint or surrounding tissues.”

 Construing the term “fixation element” as the feature that “fix[es] the position of the

 fusion implant and provide[s] for compression across the sacroiliac joint” would violate

 the claim differentiation doctrine.

                          b. “for engagement with bone tissue in an articular surface”

          No construction is necessary for the claim term “for engagement with bone tissue

 in an articular surface” because it is clear on its face. One of skill in the art would




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 readily understand the meaning of “for engagement with bone tissue in an articular

 surface” in the context of the claim and the specification. To the extent the court

 believes construction is necessary, Omnia Medical’s proposed construction of

 “configured to move the fixation element into position so as to come into operation with

 the bone tissue in the articular surface” properly reflects the plain and ordinary

 meaning to the claims term as it would be understood by a person of ordinary skill in

 the art.

          Omnia Medical’s proposed construction comports with the plain and ordinary

 meaning of the term “engagement” as it is used in the claim. The plain and ordinary

 meaning of “engagement” does not include “interlocking… in a piercing or penetrating

 manner.” As provided by Lexico.com, “engage” means “move into position so as to

 come into operation.” An example given for this usage include “the clutch will not

 engage.” (See https://www.lexico.com/en/definition/engage). Here, this ordinary

 definition is appropriate.

          Unlike Omnia Medical’s proposed construction, PainTEQ’s construction is overly

 complex and unnecessarily narrow. Nothing in the claims or the specification suggests

 that engagement means “interlocking…in a piercing or penetrating manner.”

 Accordingly, PainTEQ’s proposed construction is not supported by any intrinsic

 evidence or by the understanding of one of ordinary skill in the art.

          In addition, claim differentiation supports Omnia Medical’s proposed

 construction, not PainTEQ’s. Claim 29, which depends from claim 26 provides that the



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 “at least one fixation element penetrates said bone tissue.” Thus it is clear that had

 Applicant intended for the term engagement to mean “interlocking…in a piercing or

 penetrating manner,” he knew how to do it. See, Karlin Tech., 177 F.3d at 971-72 (The

 doctrine of claim differentiation is based on “the common sense notion that different

 works or phrases used in separate claims are presumed to indicate that the claims have

 different meanings and scope.”)

          Should the court decide that the term “for engagement with bone tissue in an

 articular surface” needs construction, Omnia Medical’s proposed construction of

 “configured to move the fixation element into position so as to come into operation with

 the bone tissue in the articular surface” should be adopted.

                          c. “engages with said articular surface”

          No construction is necessary for the claim term “engages with said articular

 surface” because it is clear on its face. One of skill in the art would readily understand

 the meaning of “engages with said articular surface” in the context of the claim and the

 specification.   To the extent the court believes construction is necessary, Omnia

 Medical’s proposed construction of “the fixation element comes into operation with the

 bone tissue in the articular surface” properly reflects the plain and ordinary meaning to

 the claims term as it would be understood by a person of ordinary skill in the art.

          Omnia Medical’s proposed construction reflects that fact that the term “engages

 with said articular surface” is a shortened version of the clause “at least one fixation




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 element for engagement with bone tissue in an articular joint.” In context, claim 26 of

 the ‘539 Patent reads:

           …said fusion implant having at least one fixation element for
           engagement with bone tissue in an articular surface of at least one of an
           ilium and a sacrum in said sacroiliac joint, wherein said at least one
           fixation element engages with said articular surface of at least one of
           said ilium and said sacrum and no further implants or fusion devices are
           introduced into the sacroiliac joint or surrounding tissues…

 The two clauses use the same words because they are meant to say the same thing – the

 fixation element engages with bone tissue in an articular surface.

           PainTEQ’s proposed construction should not be adopted for the reasons

 provided above. In addition, it is unclear why PainTEQ’s two proposed constructions

 differ.

                 The D232 Patent

                      2. Disputed claim constructions

           The D232 Patent recites one claim “the ornamental design for a surgical cannula,

 as shown and described” in ten figures.

           As set forth in the Joint Claim Construction and Prehearing Statement (D.I. 45.),

 the parties’ positions regarding the construction of the D232 Patent are as follows.

           Omnia Medical believes that no construction is necessary for the D232 Patent. If

 construction is deemed necessary, Omnia Medical proposes that the design be

 construed such that every element of the D232 Patent contributes to the overall

 ornamentation of the design and that it is improper to “filter out” functional elements in

 claim construction as “functional” elements may include ornamental aspects.



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          PainTEQ proposes that every element of the D232 Patent is functional, as

 outlined in red in the accompanying figures (D.I. 45). PainTEQ further states that after

 filtering out the functional elements of the design, there are no remaining protectable

 elements of the D232 Patent.

          The D232 Patent claims the ornamental design for a surgical cannula, as shown

 and described in the ten figures included in the specification. PainTEQ asserts that

 every element of the design is functional and that these functional elements must be

 filtered out during claim construction. This approach to claim construction in design

 patents has been widely rejected by the courts. See Sport Dimension, 820 F.3d at 1321-22.

          In addition, PainTEQ’s allegation that every element of the D232 Patent is purely

 functional is misleading and inaccurate. First, as noted above, the fact that an article of

 manufacture is functional is not surprising. In fact, it must be functional in order to

 qualify as an article of manufacture for patentability. There is no particular test for

 determining when a claimed design is improperly “functional.” See, Ethicon, 796 F.3d

 at 1329. However, courts have found the “availability of alternative designs” to be an

 important, if not dispositive, factor in assessing whether a design is dictated by

 function. See, Ethicon, 796 F.3d at 1329-30.

          Here, Omnia Medical does not claim to have invented the surgical cannula. In

 fact, there are many surgical cannula on the market that are not substantially similar to

 the design claimed in the D232 Patent. Thus, for example, while the body of the

 cannula performs the function of providing a cavity through which instruments may



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 pass, the claimed shape of the body is not dictated by this function. In addition, while

 the tangs of the surgical cannula may assist in stabilizing the surgical cannula, this

 function does not dictate the shape of the tangs. Because there are many different

 possible designs for each element of the surgical cannula, it is evident that none of the

 elements of the claimed design are purely functional.

          Thus, to the extent the D232 Patent requires construction the court should adopt

 Omnia Medical’s proposed construction and construe the claim as “the ornamental

 design for a surgical cannula, as shown and described in Figures 1-10 and the

 specification of the D232 Patent. “

V.   CONCLUSION

          For the reasons stated above, Omnia Medical’s proposed claim constructions

 should be adopted where construction is deemed necessary.           PainTEQ’s proposed

 constructions should be rejected because they do not apply the plain and ordinary

 meaning of the disputed terms and improperly import limitations into the claims.

          Dated: July 28, 2021.

                                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that I electronically filed the foregoing with the Court’s

 CM/ECF system which will provide service via electronic mail to all registered

 participants listed on July 28, 2021.


                                                /s/ Matthew G. Davis
                                                Matthew G. Davis




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